
644 S.E.2d 566 (2007)
STATE
v.
Darrell Wayne MANESS.
No. 402A06.
Supreme Court of North Carolina.
March 9, 2007.
Rex Gore, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 7th day of March 2007 by Defendant for Extension of Time to Serve Proposed Record on Appeal:
"Motion Allowed. Defendant shall have up to and including the 19th day of May 2007 to serve his/her proposed record upon the district attorney. The parties shall then proceed to settle and file the record on appeal pursuant to the provisions of Appellate Rules 11 and 12. By order of the Court in conference this the 9th day of March 2007."
